Case 2:20-cv-04275-RGK-AS Document 33 Filed 07/20/20 Page 1 of 3 Page ID #:749



  1   XAVIER BECERRA
      Attorney General of California
  2   PAUL STEIN
      Supervising Deputy Attorney General
  3   S. CLINTON WOODS
      Deputy Attorney General
  4   JOHN D. ECHEVERRIA
      Deputy Attorney General
  5   State Bar No. 268843
       455 Golden Gate Avenue, Suite 11000
  6    San Francisco, CA 94102-7004
       Telephone: (415) 510-3479
  7    Fax: (415) 703-1234
       E-mail: John.Echeverria@doj.ca.gov
  8   Attorneys for Defendants
  9                     IN THE UNITED STATES DISTRICT COURT
 10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11                                WESTERN DIVISION
 12
 13
      PROFESSIONAL BEAUTY                         Case No. 2:20-cv-4275-RGK-AS
 14   FEDERATION OF CALIFORNIA,
      et al.,                                   DEFENDANTS’ NOTICE OF
 15                                             MOTION AND MOTION TO
                                    Plaintiffs, DISMISS FIRST AMENDED
 16                                             COMPLAINT
                  v.
 17                                               [Fed. R. Civ. P. 12(b)(6)]
      GAVIN NEWSOM, et al.,
 18                                           Date:             August 17, 2020
                                  Defendants. Time:             9:00 a.m.
 19
                                              Courtroom:        850
 20                                           Judge:            Hon. R. Gary Klausner
                                              Action Filed:     May 12, 2020
 21
 22
           TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 23
      RECORD:
 24
           PLEASE TAKE NOTICE that, on Monday, August 17, 2020, at 9:00 a.m.,
 25
      or as soon thereafter as the matter may be heard before the Honorable R. Gary
 26
      Klausner, United States District Judge, in Courtroom 850 of the Roybal Federal
 27
      Building and U.S. Courthouse, located at 255 East Temple Street, Los Angeles, CA
 28
                                              1
Case 2:20-cv-04275-RGK-AS Document 33 Filed 07/20/20 Page 2 of 3 Page ID #:750



  1   90012, Defendants Gavin Newsom, in his official capacity as the Governor of
  2   California; Xavier Becerra, in his official capacity as the Attorney General of
  3   California; Sonia Angell, in her official capacity as California Public Health Officer
  4   and Department of Public Health Director; Lourdes Castro Ramirez, in her official
  5   capacity as Secretary of the California Business, Consumer Services and Housing
  6   Agency; Kimberly Kirchmeyer, in her official capacity as Director of the
  7   Department of Consumer Affairs; Kristy Underwood, in her official capacity as
  8   Executive Officer of the State Board of Barbering and Cosmetology; Jacquelyn
  9   Crabtree, in her official capacity as member of the State Board of Barbering and
 10   Cosmetology; Andrew Drabkin, in his official capacity as member of the State
 11   Board of Barbering and Cosmetology; Derick Matos, in his official capacity as
 12   member of the State Board of Barbering and Cosmetology; Calimay Pham, in her
 13   official capacity as member of the State Board of Barbering and Cosmetology; Lisa
 14   Thong, in her official capacity as member of the State Board of Barbering and
 15   Cosmetology; Christie Tran, in her official capacity as member of the State Board
 16   of Barbering and Cosmetology; Steve Weeks, in his official capacity as member of
 17   the State Board of Barbering and Cosmetology; and Kari Williams, in her official
 18   capacity as member of the State Board of Barbering and Cosmetology (collectively,
 19   “Defendants”), will and presently do move this Court to dismiss Plaintiffs’ First
 20   Amended Complaint (Dkt. 11) under Federal Rules of Civil Procedure 12(b)(6) on
 21   the ground that the FAC fails to state a claim upon which relief can be granted.
 22        This motion is made following a conference of counsel that took place
 23   telephonically on July 13, 2020, pursuant to Local Rule 7-3.
 24        This motion is based on this Notice of Motion and Motion to Dismiss First
 25   Amended Complaint; the accompanying Memorandum of Points and Authorities;
 26   the accompanying Defendants’ Request for Judicial Notice in Support of
 27   Defendants’ Motion to Dismiss First Amended Complaint; all pleadings and papers
 28   on file in this action; and such other matters as the Court may deem appropriate.
                                               2
Case 2:20-cv-04275-RGK-AS Document 33 Filed 07/20/20 Page 3 of 3 Page ID #:751



  1
      Dated: July 20, 2020                     Respectfully submitted,
  2
                                               XAVIER BECERRA
  3                                            Attorney General of California
                                               PAUL STEIN
  4                                            Supervising Deputy Attorney General
                                               S. CLINTON WOODS
  5                                            Deputy Attorney General
  6
  7                                            /s/ John D. Echeverria
                                               JOHN D. ECHEVERRIA
  8                                            Deputy Attorney General
  9                                            Attorneys for Defendants

 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                           3
